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                        IN THE UNITED STATES DISTRICT COURT

                         DISTRICT OF UTAH, CENTRAL DIVISION




UNITED STATES OF AMERICA,                                INDICTMENT

                   Plaintiff,                            VIOL. 21 U.S.C. § 841(a)(1) and§ 846

       vs.                                               Conspiracy to Distribute XLR-11, a
                                                         Synthetic Cannabinoid
SAMER HAZIM MOHAMMED SALIH,
                                                         Possession ofXLR-11 with Intent to
                   Defendant.                            Distribute

                                                        Case: 2: 15-cr-00716
                                                        Assigned To : Waddoups, Clark
                                                        Assign. Date : 12/2/2015
       The Grand Jury charges:                          Description: USA v.

                                             COUNT 1-

                                  [21 U.S.C. § 841(a)(1) and§ 846]

                                 (Conspiracy to Distribute XLR-11)

       On a date unknown, but at least by August 28, 2012, and continuing through June 30,

2014, in the Central Division of the District of Utah and elsewhere,

                                SAMER HAZIM MOHAMMED SALIH,
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the defendant herein, did knowingly and intentionally combine, conspire, confederate, and agree

with others known and unknown to distribute XLR-11, a synthetic cannabinoid commonly known

as "spice," a Schedule I controlled substance within the meaning of21 U.S.C. § 812; all in

violation of21 U.S.C § 841(a)(1) and 21 U.S.C. § 846, and punishable pursuant to 21 U.S.C.

§ 841(b)(l)(C).

                                                COUNT2

                                      [21 U.S.C. § 841(a)(l)]

                        (Possession ofXLR-11 with Intent to Distribute)

        On or about March 27, 2014, in the Central Division of the District ofUtah,

                            SAMER HAZIM MOHAMMED SALIH,

the defendant herein, did knowingly and intentionally attempt to possess with intent to distribute

XLR-11, a synthetic cannabinoid commonly known as "spice," a Schedule I controlled substance

within the meaning of21 U.S.C. § 812; and did aid and abet therein, in violation of21 U.S.C.

§ 841(a)(l) and 18 U.S.C. § 2, and punishable pursuant to 21 U.S.C. § 841(b)(1)(C).



                       NOTICE OF INTENT TO SE:EK FORFEITURE

       Pursuant to 21 U.S.C. § 853, upon conviction of an offense in violationof21 U.S.C. §§ 841

or 846, as set forth in this indictment, the Defendant shall forfeit to the United States any property

constituting, or derived from, any proceeds obtained, directly or indirectly, as the result of such

violations and any property used, or intended to   b~   used, in any marner or part, to commit, or to

facilitate the commission of, the violations.

       If any of the property described above, as a result of any act or omission
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of the defendant:

               a.     cannot be located upon the exercise of due diligence;

               b.     has been transferred or sold to, or deposited with, a third party;

               c.     has been placed beyond the jurisdiction of the court;

               d.     has been substantially diminished in value; or

               e.     has been commingled with other property which cannot be divided without

                      difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to 18

U.S.C. § 982(b) and 21 U.S.C. § 853(p).




                                             ATRUEBI/5/
                                             FOREPERSON 0F THE GRAND JURY

JOHN W. HUBER


\~s~
VERNON STEJSKAL
Assistant United States Attorney
